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                                        U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                    April 2, 2018

BY ECF and BY E-MAIL

The Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:    United States v. James David Williams, S7 16 Cr. 436 (KMW)

Dear Judge Wood:

        As Your Honor is aware, the defendant in the above-captioned action entered a guilty plea
on September 21, 2017 to the charges contained in the S4 Superseding Information; that plea was
accepted by Your Honor on October 4, 2018. On March 22, 2018, the defendant entered a guilty
plea, before Magistrate Judge Fox, to the additional charges contained in Counts One through
Three of the S7 Superseding Information. The Government respectfully requests that Your Honor
accept the defendant’s March 22, 2018 guilty plea. Enclosed please find for your consideration
(1) a proposed Order accepting the defendant’s guilty plea and (2) the transcript of the plea
proceeding.


                                                Respectfully submitted,

                                                GEOFFREY S. BERMAN
                                                United States Attorney
                                                Southern District of New York


                                         By:
                                                Katherine Reilly
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Enclosures

cc:    Anthony Cecutti, Esq. (by ECF and by e-mail)
